                                                                                                      Case 2:20-cv-00195-DJC-CKD         Document 433     Filed 06/09/25   Page 1 of 11


                                                                                                  1      ROB BONTA, State Bar No. 202668
                                                                                                         Attorney General of California
                                                                                                  2      JAY M. GOLDMAN, State Bar No. 168141
                                                                                                         Supervising Deputy Attorney General
                                                                                                  3      JENNIFER J. NYGAARD, State Bar No. 229494
                                                                                                         Deputy Attorney General
                                                                                                  4      1515 Clay Street, 20th Floor
                                                                                                         P.O. Box 70550
                                                                                                  5      Oakland, CA 94612-0550
                                                                                                         Telephone: (510) 879-0802
                                                                                                  6      Fax: (510) 622-2270
                                                                                                         E-mail: Jennifer.Nygaard@doj.ca.gov
                                                                                                  7      Attorneys for Defendant Bradley

                                                                                                  8      MICHAEL TERHORST, State Bar No. 164679
                                                                                                         Beeson Terhorst, LLP
                                                                                                  9      Bercut Drive, Suite V
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                         Sacramento, CA 95811
                                                                                                 10      Telephone: (916) 444-3400
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                         Attorney for Defendants Kuich and Lizarraga
                                                                                                 11
                                                                                                         PETER J. HIRSIG (State Bar No. 197993)
                                                                                                 12      peter.hirsig@mcnamaralaw.com
                                                           TELEPHONE: (707) 427-3998




                                                                                                         DANIEL R. MAYER (State Bar No. 300077)
                                                              ATTORNEYS AT LAW




                                                                                                 13      daniel.mayer@mcnamaralaw.com
                                                                                                         MARIA ZHURNALOVA-JUPPUNOV (State Bar No. 319004)
                                                                                                 14      maria.zhurnalova-juppunov@mcnamaralaw.com
                                                                                                         MCNAMARA, AMBACHER, WHEELER,
                                                                                                 15      HIRSIG & GRAY LLP
                                                                                                         639 Kentucky Street,
                                                                                                 16      Fairfield, CA 94533
                                                                                                         Telephone: (707) 427-3998
                                                                                                 17      Facsimile: (707) 427-0268

                                                                                                 18      Attorneys for Defendants
                                                                                                         ADAMS, ANDALUZ, ASHE, ASMAN, BRANMAN,
                                                                                                 19      BRIZENDINE, BROCKENBOROGH, CEBALLOS, DIAZ,
                                                                                                         GIBSON, HEATLEY, J. JOHNSON, R. JOHNSON, KERNAN,
                                                                                                 20      PONCIANO, RAMKUMAR, REKART, ROBINSON, RUDAS, M.
                                                                                                         SMITH, C. SMITH, TIEBROCK, TOCHE and WAINE
                                                                                                 21

                                                                                                 22                                   UNITED STATES DISTRICT COURT

                                                                                                 23                   EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION

                                                                                                 24
                                                                                                         THOMAS J. SCHMITZ, et al.                      Case No. 2:20-CV-0195 DJC-CKD (PS)
                                                                                                 25
                                                                                                                        Plaintiffs,                     DEFENDANTS’ REPLY TO JOSEPH
                                                                                                 26                                                     SCHMITZ'S OBJECTIONS TO
                                                                                                                vs.                                     MAGISTRATE JUDGE'S FINDINGS AND
                                                                                                 27                                                     RECOMMENDATIONS ON
                                                                                                         A. ASMAN et al.,                               DEFENDANTS' MOTION TO DISMISS
                                                                                                 28

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD           Document 433          Filed 06/09/25      Page 2 of 11


                                                                                                  1                     Defendants.                            PLAINTIFF SCHMITZ'S CLAIMS FOR
                                                                                                                                                               FAILURE TO PROSECUTE
                                                                                                  2
                                                                                                                                                               Judge:        Hon. Daniel J. Calabretta
                                                                                                  3                                                            Trial Date:   Not Scheduled
                                                                                                                                                               Action Filed: January 27, 2020
                                                                                                  4

                                                                                                  5                                              INTRODUCTION
                                                                                                  6            Defendants      Adams,    Andaluz,     Ashe,     Asman,    Bradley,   Branman,     Brizendine,

                                                                                                  7     Brockenborogh, Ceballos, Diaz, Gibson, Heatley, J. Johnson, R. Johnson, Kernan, Kuich,

                                                                                                  8     Lizarraga, Ponciano, Ramkumar, Rekart, Robinson, Rudas, M. Smith, C. Smith, Tebrock, Toche,

                                                                                                  9     and Wanie (“Defendants”) submit this reply to Guardian ad Litem Joseph Schmitz’s Objections to
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10     the Order And Findings And Recommendations by Magistrate Judge Hon. Carolyn Delaney on
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11     Defendants’ motion to dismiss Plaintiff Dr. Thomas Schmitz’s claims (ECF No. 420). The

                                                                                                 12     Objections are an unauthorized filing because Dr. Joseph Schmitz as a non-attorney guardian ad
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13     litem is not allowed to submit legal arguments on behalf of Plaintiff Dr. Thomas Schmitz. The

                                                                                                 14     objections also are unpersuasive and unsupported by legal authority or evidence and should be

                                                                                                 15     disregarded as such.

                                                                                                 16                                                 ARGUMENT
                                                                                                 17     I.    DR. JOSEPH SCHMITZ AS THE GUARDIAN AD LITEM MAY NOT SUBMIT OBJECTIONS
                                                                                                              ON BEHALF OF PLAINTIFF DR. THOMAS SCHMITZ
                                                                                                 18

                                                                                                 19            It is settled law that “although a non-attorney may appear in propria persona in his own

                                                                                                 20     behalf, that privilege is personal to him. [citation]. He has no authority to appear as an attorney for

                                                                                                 21     others than himself.” C.E. Pope Equity Trust v. United States, 818 F.2d 696, 697 (9th Cir. 1987);

                                                                                                 22     See also Stoner v. Santa Clara County Office of Educ., 502 F.3d 1116, 1127 (9th Cir. 2007). The

                                                                                                 23     sole reason for the stay in this case, and the order and recommendations issued by the Magistrate

                                                                                                 24     Judge is that Plaintiff Dr. Thomas Schmitz having become incapacitated to prosecute this action in

                                                                                                 25     in propria persona, must retain an attorney to represent him or his claims are subject to dismissal.

                                                                                                 26     (ECF No. 399.) The guardian ad litem may retain an attorney or expert witnesses and may settle

                                                                                                 27     the claim on behalf of his ward, but may not litigate the ward’s claims. (ECF No. 399, citing cases.)

                                                                                                 28     The Eastern District of California’s Local Rules mirror this rule by requiring that “[a]ny individual

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R              2
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD           Document 433        Filed 06/09/25      Page 3 of 11


                                                                                                  1     who is representing himself or herself without an attorney must appear personally or by courtesy

                                                                                                  2     appearance by an attorney admitted to the Bar of this Court and may not delegate that duty to any

                                                                                                  3     other individual, including husband or wife, or any other party on the same side appearing without

                                                                                                  4     an attorney.” E.D. Cal. L.R. 183(a).

                                                                                                  5            A non-attorney may not sign any document filed in this action on Plaintiff Dr. Thomas

                                                                                                  6     Schmitz’s behalf, regardless of the fact that he has been appointed a guardian ad litem or that he

                                                                                                  7     signs with Plaintiff's knowledge or authorization. See Fed. R. Civ. P. 11(a), (“[e]very pleading,

                                                                                                  8     written motion, and other paper must be signed by at least one attorney of record in the attorney's

                                                                                                  9     name—or by a party personally if the party is unrepresented,” emphasis added.) Thus, Dr. Joseph
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10     Schmitz is his capacity as guardian ad litem of Plaintiff Thomas Schmitz may not file and sign
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11     objections on behalf of Plaintiff Thomas Schmitz.

                                                                                                 12            Dr. Joseph Schmitz is also not party in this action, thus he cannot file and sign objections
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13     on his own behalf. See 28 U.S.C. § 636(b)(1)(C) (“Within fourteen days after being served with a

                                                                                                 14     copy, any party may serve and file written objections to such proposed findings and

                                                                                                 15     recommendations as provided by rules of court,” emphasis added.); See also, ECF No. 420 (stating

                                                                                                 16     that “any party may file written objections with the court and serve a copy on all parties.”)

                                                                                                 17            Dr. Joseph Schmitz’s Objections to the Magistrate Judge’s Findings and Recommendations.

                                                                                                 18     (ECF No. 427) constitute an unauthorized submission to the Court and must be disregarded and/or

                                                                                                 19     stricken as such.
                                                                                                 20            Even if the Court were inclined to consider the submission by Dr. Joseph Schmitz, for the

                                                                                                 21     reasons discussed below the submission fails to provide any ground upon which the Magistrate

                                                                                                 22     Judge’s Findings and Recommendations should be rejected or modified.

                                                                                                 23     II.   GUARDIAN AD LITEM’S OBJECTION TO CHARACTERIZATION OF HIS DELAY IN
                                                                                                              RETAINING AN ATTORNEY IS WITHOUT MERIT
                                                                                                 24

                                                                                                 25            Dr. Joseph Schmitz, guardian ad litem, argues that the “Court should explicitly recognize

                                                                                                 26     that Dr. Thomas Schmitz’s mental incapacity was unforeseen, medically substantiated, and not

                                                                                                 27     within his or the guardian’s control” and that it should distinguish this case from “other pro se

                                                                                                 28     delays due to negligence or disregard for court orders.” (ECF No. 427 at 1.) The Magistrate Judge

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R             3
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD                Document 433            Filed 06/09/25         Page 4 of 11


                                                                                                  1     did find that Plaintiff Dr. Thomas Schmitz’s delay was unforeseen and unavoidable. (ECF No. 420,

                                                                                                  2     p. 5.) This does not distinguish this case from other cases where claims of minor or incompetent

                                                                                                  3     plaintiffs have been dismissed for failure to prosecute when no attorney was retained. Defense

                                                                                                  4     counsel is unaware of cases where the court’s dismissal of a case for failure to prosecute where no

                                                                                                  5     attorney substituted for a mentally incapacitated or minor plaintiff was based on a finding that the

                                                                                                  6     mental incapacity or the minority of the plaintiff was within their control or avoidable. Thus, this

                                                                                                  7     case is not distinguishable in that respect from any of the cases cited in the Findings and

                                                                                                  8     Recommendations or in defendants’ Motion to Dismiss.1

                                                                                                  9              The issue here is not whether the reason for the delay was reasonable. The issue is whether
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10     the delay by the Guardian ad Litem in retaining an attorney to represent the plaintiff was reasonable.
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11     Dr. Joseph Schmitz, after failing to retain an attorney for Plaintiff Dr. Thomas Schmitz for six

                                                                                                 12     months and after submitting no evidence identifying any efforts to do so, asserted that he needed
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13     another six months to “thoroughly search” for an attorney. (ECF No. 412 at 7.) The Magistrate

                                                                                                 14     Judge correctly found that district courts have found delays shorter than the delay proposed to be

                                                                                                 15     unreasonable. See, Lee v. Kijakazi, No. 2:20-CV-9929-MAR, 2022 WL 2316223, at *3 (C.D. Cal.

                                                                                                 16     June 28, 2022) (finding delay of nearly one year unreasonable); Kang-Shen Chen v. Pelosi, No.

                                                                                                 17     SACV 12-2182 R (AJW), 2013 WL 4239626, at *4 (C.D. Cal. Aug. 13, 2013) (finding four-month

                                                                                                 18     delay in prosecution unreasonable where there was no indication any steps to secure appointment

                                                                                                 19     of guardian or counsel had been taken), cited in ECF No. 420, p. 5. See also e.g. Gray v. Demarco,
                                                                                                 20     No. C. 97-3277 FMS, 1999 U.S. Dist. LEXIS 8845, at *13-14 (N.D. Cal. June 9, 1999) (claims of

                                                                                                 21     plaintiff who was incompetent to litigate pro se dismissed without prejudice after the court stayed

                                                                                                 22     the case for ninety days in order that counsel could be retained for that plaintiff, counsel was not

                                                                                                 23     secured in that period, and the Court found that further continuances would likely prejudice

                                                                                                 24     defendants, delay the administration of justice, and were unlikely to be fruitful); Aviles v. LawA.

                                                                                                 25     Cty. Dep't of Children & Family Servs., No. 2:23-cv-07215-CBM-BFM, 2024 U.S. Dist. LEXIS

                                                                                                 26
                                                                                                        1
                                                                                                          There is no basis for the Court to find that Dr. Thomas Schmitz’s incapacity was “medically substantiated.” The
                                                                                                 27     only medical evidence submitted was a one paragraph note dated February 5, 2024 by Lauren Dryjanski, Primary
                                                                                                        Care Nurse Practitioner at the San Francisco VA health Care System. (ECF No. 348 at 6.) While the Court
                                                                                                 28     considered the note, the Court also held a competency hearing after which it found plaintiff Dr. Thomas Schmitz
                                                                                                        legally incompetent to prosecute the case pro se. (ECF No. 384 at 1-3.)
                                                                                                            DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R                  4
                                                                                                            MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD            Document 433         Filed 06/09/25       Page 5 of 11


                                                                                                  1     74115, at *3-8 (C.D. Cal. Apr. 23, 2024) (report and recommendation adopted , 2024 U.S. Dist.

                                                                                                  2     LEXIS 97330, at *1) (C.D. Cal. May 31, 2024) (dismissing without prejudice claims of minor

                                                                                                  3     plaintiff after father failed to secure counsel, after less than a year delay); Calabrese v. California.,

                                                                                                  4     No. 22-cv-0524-JWH (KK), 2022 U.S. Dist. LEXIS 239205, at *5 (C.D. Cal. Oct. 11, 2022)

                                                                                                  5     (dismissing without prejudice claims of incompetent plaintiff after failing for six months to retain

                                                                                                  6     attorney).

                                                                                                  7     III. GUARDIAN AD LITEM’S OBJECTION TO THE 30-DAY DEADLINE FOR COUNSEL’S
                                                                                                             APPEARANCE IS WITHOUT MERIT
                                                                                                  8
                                                                                                                Guardian ad litem Dr. Joseph Schmitz objects to the Magistrate Judge’s recommendation
                                                                                                  9
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                        that any appearance of counsel be filed within 30 days of the order adopting the Findings and
                                                                                                 10
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                        Recommendations, after warning that the six-month stay of Plaintiff’s claims pursuant to the Court’s
                                                                                                 11
                                                                                                        October 15, 2024 order has ended. Dr. Joseph Schmitz argues that the deadline does not adequately
                                                                                                 12
                                                           TELEPHONE: (707) 427-3998




                                                                                                        take into account: the complexity of the case, the serious nature of Plaintiff’s mental-health
                                                              ATTORNEYS AT LAW




                                                                                                 13
                                                                                                        limitations, or the difficulty the guardian ad litem has encountered in retaining representation in
                                                                                                 14
                                                                                                        this case. (ECF No. 427 at 2.) This objection is meritless.
                                                                                                 15
                                                                                                                First, a guardian ad litem was appointed precisely because the Court found that due to
                                                                                                 16
                                                                                                        diminished mental capacity Plaintiff Dr. Thomas Schmitz was unable to prosecute in pro per this
                                                                                                 17
                                                                                                        case (whose “complexity” is a creature of Plaintiffs’ decision to needlessly name 25 individual
                                                                                                 18
                                                                                                        defendants and engage in discovery disproportionate to the needs of the case). Thus, Plaintiff Dr.
                                                                                                 19
                                                                                                        Thomas Schmitz’s mental-health limitations have been duly taken into account by appointing Dr.
                                                                                                 20
                                                                                                        Joseph Schmitz as guardian ad litem and are irrelevant to the guardian ad litem’s delay in retaining
                                                                                                 21
                                                                                                        an attorney.
                                                                                                 22
                                                                                                                Second, there is no evidence before the Court of any difficulty that Dr. Joseph Schmitz has
                                                                                                 23
                                                                                                        encountered in seeking to retain an attorney. Dr. Joseph Schmitz’ declaration filed in support of
                                                                                                 24
                                                                                                        Plaintiff Mallia’s opposition to the motion to dismiss, did not identify any efforts he made to retain
                                                                                                 25
                                                                                                        counsel such as making phone calls, sending emails, or meeting any attorney. (ECF No. 412 at 6-7.)
                                                                                                 26
                                                                                                        Instead, he took it upon himself to review all court filings (more than 400) and medical records,
                                                                                                 27
                                                                                                        and wait for Plaintiff Mallia to obtain a letter with some preliminary opinions from an expert
                                                                                                 28

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R               5
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD           Document 433         Filed 06/09/25      Page 6 of 11


                                                                                                  1     retained five years ago, so that he could feel “comfortable” in his role. (ECF No. 412 at 7.)

                                                                                                  2            Dr. Joseph Schmitz has not averred that any attorney he contacted requested that Dr. Joseph

                                                                                                  3     Schmitz review over 400 filings in this case, or all 5,000 medical records, or secure a preliminary

                                                                                                  4     expert opinion. An experienced attorney is likely capable of assessing whether to take on a case

                                                                                                  5     before receiving information from an expert witness. An attorney, unlike Dr. Joseph Schmitz, has

                                                                                                  6     both the qualifications and experience to review only the important court filings that are pertinent

                                                                                                  7     to the current stage of the proceedings in order to make their evaluation of the case and decide

                                                                                                  8     whether to take it on. Thus, the difficulties Dr. Joseph Schmitz averred to in his declaration are all

                                                                                                  9     self-imposed, avoidable, and unreasonable.
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10            Dr. Joseph Schmitz fails to provide any meritorious argument as to why he should be
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11     afforded 90 days instead of 30 days after this Court issues an order to have an attorney substitute

                                                                                                 12     in for Plaintiff Dr. Thomas Schmitz. The Court’s Order appointing Dr. Joseph Schmitz and
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13     partially staying the action was issued on October 15, 2024 (ECF No. 399.) Nearly eight months

                                                                                                 14     have passed. The Magistrate Judge has recommended extending an additional thirty-day deadline

                                                                                                 15     by which an attorney for Plaintiff Dr. Thomas Schmitz to substitute in. Any further extension would

                                                                                                 16     be prejudicial to Defendants in causing unreasonable delay and interfering with the parties’ ability

                                                                                                 17     to comply with the Further Pre-Trial Scheduling Order as discussed below. (ECF No 421.)

                                                                                                 18            Moreover, this Court in its July 19, 2024 Order has already reviewed and rejected the same

                                                                                                 19     request by Dr. Joseph Schmitz: “If appointed guardian ad litem, Dr. Joseph Schmitz requests a stay
                                                                                                 20     of nine months, described as six months to review discovery and contact experts and three

                                                                                                 21     additional months to communicate with attorneys and to attempt to settle the case. (See ECF No.

                                                                                                 22     386-1 at 2.)” (ECF No. 388 at 4, emphasis added.) Dr. Thomas Schmitz repeats this request again,

                                                                                                 23     the only difference being that the case would not be stayed during the additional three months he

                                                                                                 24     argues he should have to retain an attorney. Thus, there is even less ground to grant the request

                                                                                                 25     now, than there was when it was originally made.

                                                                                                 26            Finally, Dr. Joseph Schmitz’s request that the 30-day deadline be transformed into a status

                                                                                                 27     update deadline has no basis in law and would be highly prejudicial to Defendants. The partial stay

                                                                                                 28     on this case has already been lifted and the Magistrate Judge has issued a Further Pre-Trial

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R              6
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD           Document 433        Filed 06/09/25      Page 7 of 11


                                                                                                  1     Scheduling Order. (ECF No. 421.) Defendants are entitled to complete discovery as to Plaintiff Dr.

                                                                                                  2     Thomas Schmitz’s claims and take deposition of fact witnesses, but will be unable to do so if

                                                                                                  3     Plaintiff Dr. Thomas Schmitz is unrepresented and unable to respond to discovery, propound

                                                                                                  4     discovery of his own, or take depositions. Likewise, Defendants are entitled to have dispositive

                                                                                                  5     motions timely heard as to all claims in this action, but will be unable to do so if Plaintiff Dr.

                                                                                                  6     Thomas Schmitz’s claims are not dismissed and at the same time are not being prosecuted.

                                                                                                  7     IV.   GUARDIAN AD LITEM’S REMAINING OBJECTIONS ARE WITHOUT MERIT

                                                                                                  8           A.    Public Policy Considerations

                                                                                                  9            The guardian ad litem’s objection to the Magistrate Judge’s consideration of public policy
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10     is surprising, given that the Magistrate Judge found that “The public policy favoring disposition of
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11     cases on their merits weighs against dismissal, as it ordinarily does.” (ECF No. 420 at 6.) However,

                                                                                                 12     this public policy is one of several factors that a Court weighs on ruling on a motion to dismiss for
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13     failure to prosecute. Were this this the only factor, no claims would ever be dismissed no matter

                                                                                                 14     how unreasonable the delay, and how significant the prejudice to the defendants.

                                                                                                 15            Guardian ad litem Dr. Joseph Schmitz argues that a “premature dismissal due to temporary

                                                                                                 16     incapacity” would undermine this interest and may violate due process. No evidence has been

                                                                                                 17     submitted to this Court that Plaintiff Dr. Thomas Schmitz’s incapacity is temporary. In fact, in the

                                                                                                 18     same objections, the guardian ad litem characterizes Plaintiff Dr. Thomas Schmitz’s mental health

                                                                                                 19     limitations as being of “serious nature.” (ECF No. 427 at 2.) Per the Court’s Order, the partial stay
                                                                                                 20     in this action could have been lifted prior to the expiration of six-month deadline with the

                                                                                                 21     restoration of Plaintiff Dr. Thomas Schmitz’s competency as demonstrated by a motion to lift the

                                                                                                 22     stay with supporting evidence. (ECF No. 399 at 2.) No such motion was filed and no such evidence

                                                                                                 23     has been submitted to the Court.

                                                                                                 24           B.    There is No Legal Ground for the Requested “Clarification” Regarding
                                                                                                                    Accommodations for Cognitive Impairment
                                                                                                 25

                                                                                                 26            For the reason stated above, guardian ad litem Dr. Joseph Schmitz’s request that the Court

                                                                                                 27     acknowledge that Dr. Thomas Schmitz may potentially regain capacity with “accommodations”

                                                                                                 28     lacks any basis in the evidence. First, the Court already held an evidentiary hearing, heard sworn

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R             7
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD           Document 433         Filed 06/09/25      Page 8 of 11


                                                                                                  1     testimony, and determined that Plaintiff Dr. Thomas Schmitz lacks legal capacity to continue to

                                                                                                  2     prosecute his claim pro se. A party either has or does not have legal capacity to litigate pro se. No

                                                                                                  3     evidence has been submitted by Plaintiff Dr. Thomas Schmitz that his legal capacity has been

                                                                                                  4     restored. There is no evidence before the Court that absence of legal capacity to sue due to mental

                                                                                                  5     health decline can be regained by any of the accommodations proposed by the guardian ad litem

                                                                                                  6     Dr. Joseph Schmitz.

                                                                                                  7            Guardian ad litem Dr. Joseph Schmitz lists as a possible accommodation “ongoing support

                                                                                                  8     from the guardian ad litem to assist in communication and comprehension.” (ECF No. 427 at 2.)

                                                                                                  9     Dr. Joseph Schmitz has already been appointed as guardian ad litem and nothing prevents him to
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10     provide ongoing support to Plaintiff.
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11            The proposal for “structured, simplified instructions from the court” does not make any

                                                                                                 12     sense and is unsupported by authority. It would be inappropriate for the Court to tailor its orders
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13     and rulings with the specific purpose of assisting a party in a case to prosecute their claims.

                                                                                                 14     Moreover, the rulings of this Court cannot be subject to potential appeal because the court bound

                                                                                                 15     itself to issue “structured and “simplified” instructions, but arguably failed to comply with that

                                                                                                 16     unspecified criteria regarding its own rulings. Nor may defendants be ordered to file motions that

                                                                                                 17     are structured and implied to accommodate a litigant’s legal incapacity to proceed pro se.

                                                                                                 18            The proposal for “coordination with medical professionals to monitor improvements in

                                                                                                 19     cognitive status” is likewise ungrounded in law or reason. What would the “coordination” entail?
                                                                                                 20     How often would this monitoring take place and for how long? How would this “coordination”

                                                                                                 21     assist Plaintiff in regaining capacity? Most importantly, what is the legal authority providing that it

                                                                                                 22     is proper for the Court to engage in this “coordination”? No such authority has been provided.

                                                                                                 23            The proposal for appointment of counsel for specific litigation likewise lacks in specificity

                                                                                                 24     and is not supported by authority. While a court may appoint counsel for indigent civil litigants in

                                                                                                 25     exceptional circumstances pursuant to 28 U.S.C. § 1915(e)(1), there has been no finding that

                                                                                                 26     Plaintiff Dr. Thomas Schmitz is an indigent litigant.

                                                                                                 27           C.    Dismissal Prior to Completion of Discovery is Not Premature
                                                                                                 28            The partial state necessitated due to the incapacity of Plaintiff Dr. Thomas Schmitz to

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R              8
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                      Case 2:20-cv-00195-DJC-CKD           Document 433         Filed 06/09/25       Page 9 of 11


                                                                                                  1     prosecute this case in pro se is the very reason why discovery is not completed yet. Discovery

                                                                                                  2     cannot be completed while a party to the action is not participating in the discovery process. The

                                                                                                  3     only way discovery can be completed is after an attorney substitutes in for Plaintiff Dr. Thomas

                                                                                                  4     Schmitz and participates in discovery or after Plaintiff Dr. Thomas Schmitz’s claims are dismissed

                                                                                                  5     and no longer subject to discovery. Thus, in order for the discovery to be completed in accordance

                                                                                                  6     with the Further Pre-Trial Scheduling Order (ECF No 421), the Magistrate Judge’s

                                                                                                  7     Recommendation that a substitution of attorney for Plaintiff Dr. Thomas Schmitz must be filed

                                                                                                  8     within 30 days of the Court’s order must be adopted.

                                                                                                  9            Moreover, the guardian ad litem’s argument that closure of fact discovery, in which only
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10     Plaintiff Mallia participates, will increase the likelihood of an attorney taking the case on behalf of
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11     Plaintiff Schmitz is devoid of common sense. Any attorney would likely prefer to have input in the

                                                                                                 12     fact discovery if they were to take on a case, rather than come into the case where fact discovery
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13     has already closed.

                                                                                                 14                                               CONCLUSION
                                                                                                 15            Based on the above, including that the “objections” by guardian ad litem Dr. Joseph Schmitz

                                                                                                 16     are an unauthorized submission, and that they provide no basis in the law or in the evidence upon

                                                                                                 17     which to question the Magistrate Judge’s thorough analysis and to reject or modify the Findings

                                                                                                 18     and Recommendations, Defendants respectfully request that the Court adopt these Findings and

                                                                                                 19     Recommendations in full.
                                                                                                 20
                                                                                                        Dated: June 9, 2025                    ROB BONTA
                                                                                                 21                                            Attorney General of California
                                                                                                                                               JAY M. GOLDMAN
                                                                                                 22                                            Supervising Deputy Attorney General
                                                                                                 23                                            /s/ Jennifer J. Nygaard
                                                                                                                                               __________________________
                                                                                                                                               JENNIFER J. NYGAARD
                                                                                                 24                                            Deputy Attorney General
                                                                                                                                               Attorneys for Defendant Bradley
                                                                                                 25
                                                                                                        Dated: June 9, 2025                    BEESON TERHORST LLP
                                                                                                 26
                                                                                                                                               /s/ Michael A. Terhorst
                                                                                                                                               __________________________
                                                                                                 27                                            Michael A. Terhorst, Esq.
                                                                                                                                               Attorneys for Defendants
                                                                                                 28                                            Kuich and Lizzarga

                                                                                                         DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R              9
                                                                                                         MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                  Case 2:20-cv-00195-DJC-CKD         Document 433       Filed 06/09/25   Page 10 of 11


                                                                                                  1   Dated: June 9, 2025               MCNAMARA, AMBACHER, WHEELER,
                                                                                                                                        HIRSIG & GRAY LLP
                                                                                                  2

                                                                                                  3                                     By:     /s/ Maria Zhurnalova-Juppuno
                                                                                                                                               Peter J. Hirsig
                                                                                                  4                                            Daniel R. Mayer
                                                                                                                                               Maria Zhurnalova-Juppunov
                                                                                                  5                                            Attorneys for Defendants
                                                                                                                                               ADAMS, ANDALUZ, ASHE, ASMAN, BRANMAN,
                                                                                                  6                                            BRIZENDINE, BROCKENBOROGH, CEBALLOS,
                                                                                                                                               DIAZ, GIBSON, HEATLEY, J. JOHNSON, R.
                                                                                                  7                                            JOHNSON, KERNAN, LEIDNER, PONCIANO,
                                                                                                                                               RAMKUMAR, REKART, ROBINSON, RUDAS, M.
                                                                                                  8                                            SMITH, C. SMITH, TIEBROCK, TOCHE and WAINE

                                                                                                  9
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11

                                                                                                 12
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13

                                                                                                 14

                                                                                                 15

                                                                                                 16

                                                                                                 17

                                                                                                 18

                                                                                                 19
                                                                                                 20

                                                                                                 21

                                                                                                 22

                                                                                                 23

                                                                                                 24

                                                                                                 25

                                                                                                 26

                                                                                                 27

                                                                                                 28

                                                                                                       DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R        10
                                                                                                       MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
                                                                                                  Case 2:20-cv-00195-DJC-CKD            Document 433         Filed 06/09/25      Page 11 of 11


                                                                                                  1                      PROOF OF SERVICE BY MAIL (C.C.P. §§ 1013a, 2015.5)

                                                                                                  2          I hereby declare that I am a citizen of the United States, am over the age of eighteen years,

                                                                                                  3   and not a party to the within action; my business address is 3480 Buskirk Avenue, Suite 250,

                                                                                                  4   Pleasant Hill, CA 94523.

                                                                                                  5          On this date I served the foregoing DEFENDANTS’ REPLY TO JOSEPH SCHMITZ'S

                                                                                                  6   OBJECTIONS TO MAGISTRATE JUDGE'S FINDINGS AND RECOMMENDATIONS

                                                                                                  7   ON DEFENDANTS' MOTION TO DISMISS PLAINTIFF SCHMITZ'S CLAIMS FOR

                                                                                                  8   FAILURE TO PROSECUTE on the parties in said action, by placing a true copy thereof enclosed

                                                                                                  9   in a sealed envelope addressed as listed below for mailing. I am readily familiar with this firm's
McNAMARA, AMBACHER, WHEELER, HIRSIG & GRAY LLP




                                                                                                 10   practice of collection and processing correspondence for mailing. Under that practice, it would be
                                                 639 KENTUCKY STREET, FAIRFIELD, CA 94533-5530




                                                                                                 11   deposited with the United States Postal Service on that same day with postage thereon fully prepaid,

                                                                                                 12   in the United States Post Office mail box at Pleasant Hill, California, addressed as follows:
                                                           TELEPHONE: (707) 427-3998
                                                              ATTORNEYS AT LAW




                                                                                                 13   Plaintiffs in Pro Per:
                                                                                                 14   Thomas J. Schmitz                                Joseph Schmitz
                                                                                                      Ms. Dianne Mallia                                1856 Plaza Palo Alto
                                                                                                 15   404 Atkinson Street                              Chula Vista, CA 91914
                                                                                                      Roseville , CA 95678
                                                                                                 16
                                                                                                      E-Mail: deedamallia@gmail.com
                                                                                                 17           tsfoot49@gmail.com
                                                                                                 18

                                                                                                 19          I declare under penalty of perjury under the laws of the State of California that the foregoing

                                                                                                 20   is true and correct and that this declaration was executed on June 9, 2025 at Pleasant Hill,

                                                                                                 21   California.

                                                                                                 22
                                                                                                                                                     /s/ Tami Martin
                                                                                                                                                    __________________________________
                                                                                                 23                                                 Tami Martin
                                                                                                 24

                                                                                                 25

                                                                                                 26

                                                                                                 27

                                                                                                 28

                                                                                                       DEFS’ REPLY TO J. SCHMITZ'S OBJ. F&R             11
                                                                                                       MTN TO DISMISS – 2:20-cv-0195-DJC-CKD
